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                   THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


THE WILDERNESS SOCIETY
1615 M Street NW
Washington, D.C. 20036

DEFENDERS OF WILDLIFE
1130 17th Street NW
Washington, D.C. 20036

NATURAL RESOURCES DEFENSE COUNCIL, INC.               Case No. ______________
40 West 20th Street, 11th Floor
New York, New York 10011

SOUTHERN UTAH WILDERNESS ALLIANCE
425 East 100 South
Salt Lake City, Utah 84111

GRAND CANYON TRUST
2601 North Fort Valley Road
Flagstaff, Arizona 86001

GREAT OLD BROADS FOR WILDERNESS
605 East 7th Avenue
Durango, Colorado 81301

WESTERN WATERSHEDS PROJECT
126 South Main Street, Suite B2
Hailey, Idaho 83333

WILDEARTH GUARDIANS
516 Alto Street
Santa Fe, New Mexico 87501

SIERRA CLUB
2101 Webster Street, Suite 1300
Oakland, California 94612

CENTER FOR BIOLOGICAL DIVERSITY
378 North Main Avenue
Tucson, Arizona 85701

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               Plaintiffs,
      v.

DONALD J. TRUMP, in his official capacity as
President of the United States
1600 Pennsylvania Avenue NW
Washington, D.C. 20500

RYAN ZINKE, in his official capacity as Secretary of
the Interior
1849 C Street NW
Washington, D.C. 20240

BRIAN STEED, in his official capacity as the official
exercising the authority of the Director of the Bureau
of Land Management
1849 C Street NW
Washington, D.C. 20240

                Defendants.




           COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF



                                   INTRODUCTION

        1.       This case challenges President Donald J. Trump’s unlawful December

 4, 2017 proclamation that attempts to revoke monument status and protections

 from roughly half of the Grand Staircase-Escalante National Monument (the

 Monument), which was designated in 1996 pursuant to the Antiquities Act of 1906.

 President Trump’s unlawful proclamation would replace the Monument in large


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part with three separate, significantly smaller units. The President’s unlawful

action strips monument protection from nearly 900,000 acres of federal public

lands—or nearly half of the Monument—and leaves remarkable fossil, cultural,

scenic, and geologic treasures exposed to immediate and ongoing harm.

      2.       In derogation of the Antiquities Act’s text and protective purpose,

President Trump has flouted 111 years of conservation history. His decision to

abolish the Monument in part and to remove monument protection from many of

the remarkable objects identified in the 1996 Proclamation that created the

Monument exceeds his authority under the U.S. Constitution and the Antiquities

Act

      3.       Congress enacted the Antiquities Act of 1906, 54 U.S.C. § 320301 et

seq., to ensure that the nation’s rich historic, cultural, and scientific heritage

enjoyed lasting protection, safe from damage or loss through activities like mining,

development, looting, or vandalism. The Act achieves the lasting protection of these

important public resources by authorizing Presidents, through a narrow delegation

of Congress’s otherwise exclusive authority under the Property Clause, to designate

national monuments. Beginning with President Theodore Roosevelt, Presidents

have provided permanent protection to more than one hundred and fifty national

monuments throughout our country—from the Statue of Liberty to the Grand

Canyon—ensuring that landscapes of extraordinary beauty, as well as irreplaceable

and exceptional objects and sites of scientific and historic importance, will be

preserved and enjoyed for generations to come.

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      4.       When President Clinton designated the Monument in 1996—over

twenty-one years ago—he provided needed protection to approximately 1.7 million

acres of geologic and historic treasures, including unique paleontological resources

found nowhere else in the world, and vividly beautiful landscapes. See

Proclamation No. 6920, Establishment of the Grand Staircase-Escalante National

Monument, 61 Fed. Reg. 50,223 (Sept. 18, 1996) (the 1996 Proclamation). These

resources were threatened by a range of activities—most notably a large coal mine

that would have brought industrial-scale development, including roads, heavy

equipment, structures, waste pits, degradation of natural springs, and noise to the

Kaiparowits Plateau, which lies in the heart of the Monument. After the

Monument’s designation, the Department of the Interior negotiated the repurchase

of the coal leases, the mine proposal was abandoned, and the area, with its world-

class paleontological resources has been protected ever since. Areas of the

Monument with coal deposits have yielded astonishing new dinosaur fossils found

nowhere else in the world.

      5.       The Monument’s size matches the vast grandeur of the geologic

formations for which it is named: the stair-stepping benches of towering sandstone

formations and plateaus that stretch from near the Grand Canyon northwards to

Utah’s wildlife-rich Paunsaugunt Plateau. According to the Utah Geological

Survey, “[t]his staircase is like no other,” with layered, 2,000-foot tall sandstone

“risers.” This geologic wonder, eons in the making, documents the area’s slow

evolution from a vast ocean, to a landscape eventually inhabited by dinosaurs and

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blanketed by tropical vegetation, to the arid, largely rock-bound terrain visible

today.

         6.       Historic and cultural resources within the Monument include

archaeological sites and artifacts from thousands of years ago, to the more recent

evidence of early explorers like John Wesley Powell and the settlement of early

Mormon pioneers.

         7.       Renowned for its natural beauty, the Monument affords rare

opportunities to experience an intact, iconic, and rugged Western landscape in its

natural state. The region’s beauty and national importance are reflected in the

multiple national parks in the vicinity of the Monument: Bryce Canyon, Zion,

Capitol Reef, and Grand Canyon National Parks are all within a day’s drive or less,

and Glen Canyon National Recreation Area borders the Monument to the east. The

Monument was the last place in the continental United States to be mapped, and,

as President Clinton’s Proclamation recognized, its remote location contributes to

the wild and undeveloped character of the Monument to this day.

         8.       The Monument provides Plaintiffs, their members, scientists, and the

American public with outstanding opportunities to conduct scientific research,

observe archaeological sites, hike in these magnificent landscapes, camp, view the

abundant native animal and plant life, and engage in a variety of other recreational

activities. Recent visitation data indicates that approximately 900,000 people visit

the Monument annually to enjoy this spectacular ecological, historic, and cultural

treasure.

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      9.       On December 4, 2017, President Trump issued an unlawful

proclamation revoking monument status and protections from roughly half of the

Grand Staircase-Escalante National Monument, and replacing it with three much

smaller, non-contiguous units, which he named the Grand Staircase, Kaiparowits,

and Escalante Canyons units. As a result of President Trump’s action, federal

public lands that had been protected for over twenty years—including vast swaths

of the Kaiparowits Plateau at the heart of the Grand Staircase-Escalante National

Monument where troves of unique dinosaur fossils have been found—will now be

open to harmful developments such as coal mining, new roads, off-highway vehicle

abuse, and oil and gas drilling. These types of developments will scar the lands,

compromise vital parts of the paleontological record, ruin their wild, natural

character, and destroy the resources the Monument was created to protect.

      10.      President Trump’s unlawful reversal of Grand Staircase-Escalante’s

full protective reach exceeds his authority under the Antiquities Act. The Act

authorizes Presidents to create national monuments; it does not authorize

Presidents to abolish them either in whole or in part, as President Trump’s action

attempts to do.

      11.      President Trump’s action even purports to overturn congressional

legislation that added lands to the Monument.

      12.      Accordingly, the President’s decision exceeds his authority under the

Antiquities Act, violates the separation of powers between Congress and the

President and the “take Care” clause of the U.S. Constitution, and is therefore

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unlawful. Actions by the Department of the Interior and the Bureau of Land

Management (BLM) to implement the President’s unlawful proclamation are

likewise themselves unlawful and should be enjoined.

                            JURISDICTION AND VENUE

       13.      This case arises under the Constitution and the laws of the United

States. Jurisdiction is therefore proper pursuant to 28 U.S.C. § 1331 (federal

question). Jurisdiction is also proper pursuant to 5 U.S.C. §§ 701-706 (the

Administrative Procedure Act).

       14.      The Court has authority to grant declaratory and injunctive relief

pursuant to 28 U.S.C. §§ 2201-2202 and its inherent authority to issue equitable

relief. Injunctive relief is also authorized by 5 U.S.C. § 706.

       15.      The Court has authority to award costs and attorneys’ fees under 28

U.S.C. § 2412.

       16.      Venue is proper in this court pursuant to 28 U.S.C. § 1391(e)(1)

because Plaintiffs The Wilderness Society and Defenders of Wildlife reside in this

District and the Southern Utah Wilderness Alliance, Natural Resources Defense

Council, Center for Biological Diversity, and Sierra Club maintain offices in the

District.

       17.      Venue is also proper in this court pursuant to 28 U.S.C. § 1391(b)(1),

(b)(2), and (e)(1) because the Defendants reside in this District. Additionally, the

events giving rise to the action challenged here—including Defendant Zinke’s

national monument review and transmittal of his recommendations to the

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President concerning the Monument, as well as Defendant Zinke and Defendant

Steed’s actions in response to that proclamation—took place in this judicial district.

                                    PLAINTIFFS

      18.      Plaintiff THE WILDERNESS SOCIETY is a non-profit national

organization founded in 1935, with members who reside throughout the nation,

including in Utah.

      19.      The Wilderness Society works to protect America’s wilderness lands

through public education, scientific analysis, and advocacy. The Wilderness

Society’s mission is to protect wilderness and inspire Americans to care about our

wild places, so that future generations will enjoy the clean air, water, wildlife,

beauty, and opportunities for recreation and renewal that pristine deserts,

mountains, forests, and rivers provide. Protecting wilderness-quality and other

sensitive lands managed by BLM is vital to achieving The Wilderness Society’s

mission.

      20.      Prior to the designation of the Monument, The Wilderness Society had

already worked for years to protect BLM wilderness lands and other sensitive lands

located within the Monument. The Wilderness Society has initiated and intervened

in numerous lawsuits to ensure that the lands within the Monument are protected

from roads and off-highway vehicle abuse, including in Kane County v. Salazar, 562

F.3d 1077 (10th Cir. 2009), in which it intervened to defend successfully the

Monument’s off-highway vehicle travel plan.



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      21.    The Wilderness Society supported the Monument’s creation, and since

1996 it has continued to advocate for the protection of all lands within the

Monument. It has actively engaged with the BLM Monument managers to support

protective provisions in the Monument Management Plan, and engaged in related

efforts to halt the damage from roads and off-highway vehicle use. The Wilderness

Society has been involved in every major action and management decision in the

Grand Staircase-Escalante National Monument since its establishment.

      22.    Many of The Wilderness Society’s members, including Ray Bloxham

and Phillip Hanceford, visit the Monument, including the areas that have now been

stripped of protection, to experience their remote wilderness quality, view wildlife,

camp, hike, and enjoy the vivid, natural beauty of the area. Additionally, its

members are drawn to Monument lands to view the numerous archaeological sites

and rock art. Its members plan to visit the area regularly in the future, including in

2018. Mr. Hanceford has represented the environmental community on the

Monument Advisory Committee since 2011.

      23.    Plaintiff DEFENDERS OF WILDLIFE (Defenders) is a national, non-

profit conservation organization founded in 1947, which is dedicated to the

protection of all native animals and plants in their natural, undeveloped, native

habitats. Headquartered in Washington, D.C., Defenders has more than 1.2 million

members and supporters throughout the United States, including in Utah.

      24.    Defenders works to ensure that the diverse wildlife populations in

North America are secure and thriving, sustained by a network of healthy lands

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and waters. Through education, advocacy, litigation, and other efforts, Defenders

works to preserve species and the habitats upon which they depend. The

Monument is vital to this work due to its outstanding rare, diverse, and sensitive

biological resources. The variety of ecosystems, ranging from low-lying desert to

coniferous forest, as well as areas of relict vegetation found within its boundaries,

combined with its remoteness, allows the Monument to preserve its important

ecological values.

      25.    Defenders has an interest in the preservation and conservation of the

Monument and the ecological resources contained therein that will be harmed by

the removal of the protections afforded by national monument status. Defenders’

members, including Brad Tollefson, live near and regularly visit the Monument for

wildlife observation, recreation, and other uses. These members derive aesthetic,

educational, professional, health, and spiritual benefits from their activities within

the Monument, including the areas that have now been stripped of protection. Mr.

Tollefson and other Defenders’ members have specific intentions to continue using

and enjoying these areas frequently and on an ongoing basis in the future.

      26.    Plaintiff NATURAL RESOURCES DEFENSE COUNCIL, INC.

(NRDC) is a non-profit environmental membership organization with hundreds of

thousands of members nationwide. Part of NRDC’s core mission is to preserve the

earth’s wild places and wildlife, to safeguard the integrity of undeveloped lands, and

to prevent the destructive impacts of extractive industry exploration and

development on public lands.

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         27.   NRDC has a longstanding commitment to the protection of federal

public lands in Utah, and it actively supported the designation of the Grand

Staircase-Escalante National Monument.

         28.   NRDC has individual members, including Utah residents Susan

Harrington, Kevin Walker, and David Delthony, who use and enjoy the Monument

lands (including the areas that have now been stripped of protection) for a variety of

purposes, including scientific study, hiking and recreation, wildlife viewing,

meditation and quiet contemplation, education, and aesthetic appreciation. These

NRDC members intend to continue visiting the Monument lands in 2018 and

beyond. Both Ms. Harrington and Mr. Walker plan to return there for backpacking

trips within the next six months. Mr. Delthony lives near the entrance of the

Monument and plans on returning there in the near future.

         29.   Plaintiff SOUTHERN UTAH WILDERNESS ALLIANCE (SUWA) is a

non-profit environmental membership organization with members in all fifty states

and offices in Washington, D.C. and Utah. It is dedicated to the sensible

management of all federal public lands within the State of Utah, the preservation

and protection of plant and animal species, the protection of clean air and water

found on federal public lands, the preservation and protection of cultural and

archaeological resources, and the permanent preservation of Utah’s remaining wild

lands.

         30.   SUWA staff and members actively supported President Clinton’s

exercise of his authority under the Antiquities Act to designate the Grand

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Staircase-Escalante National Monument and preserve the objects identified in the

1996 Proclamation for current and future generations of Americans.

      31.    SUWA staff and members have worked for decades to obtain protection

for the Grand Staircase area. SUWA has initiated and intervened in numerous

lawsuits to ensure that the lands within the Monument are protected from roads

and off-highway vehicle abuse, including in Utah Association of Counties v. Bush,

316 F. Supp. 2d 1172 (D. Utah 2004), in which it intervened to defend successfully

President Clinton’s establishment of the Monument against a broad legal challenge.

In the early 1990s, SUWA opposed a large coal mine and associated developments

in the heart of the Monument and successfully challenged before the state’s Board

of Oil, Gas and Mining the State of Utah’s decision to grant a permit to the mine

operator.

      32.    Since 1996, SUWA has regularly met with Monument managers to

express concerns, and at times opposition to, vegetation treatments, recreation

planning, and ongoing issues with off-highway vehicle use. SUWA will continue to

advocate for protection of the Monument lands through engagement in land

planning and management activities, through public education, and through

political outreach.

      33.    SUWA has individual members, including Neal Clark and Kya

Marienfeld, who often visit the Monument (including the areas that have now been

stripped of protection) for a host of reasons, including spiritual renewal, recreation,

and appreciation of the area’s significant natural resources, flora and fauna, and

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geology. SUWA members, including Mr. Clark and Ms. Marienfeld, plan to visit the

area regularly in the future, including in 2018.

      34.    Plaintiff GRAND CANYON TRUST is a non-profit public lands

advocacy organization founded in 1985. The Grand Canyon Trust’s members and

staff live and work throughout the Colorado Plateau, in Utah, Colorado, Arizona,

and New Mexico. The Grand Canyon Trust’s mission is to protect and restore the

public lands throughout the Colorado Plateau. Through its advocacy, the Grand

Canyon Trust ensures that the Colorado Plateau remains characterized by vast

open spaces, healthy ecosystems, and communities enjoying a sustaining

relationship with the natural environment.

      35.    The Grand Canyon Trust’s members and staff supported President

Clinton’s designation of the Monument and have since advocated for the protection

of the nearly 1.9 million acres of federal public lands in the Grand Staircase-

Escalante National Monument through active participation in the development of

the Monument’s Management Plan and other management actions related to the

Monument.

      36.    The Grand Canyon Trust’s members and staff, including Tim Peterson

and Ellen Heyn, regularly visit areas in the Monument, including the areas that

have now been stripped of protection, to recreate, find solitude, practice

photography and other creative arts, experience the unique landscape, examine the

region’s unique geology and paleontology, monitor and study wildlife and plants,

and view Native American cultural sites, including ancient structures, pictographs,

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and petroglyphs. Mr. Peterson, Ms. Heyn, and other Grand Canyon Trust members

and staff will continue to visit the Monument lands in the future to engage in these

activities, including in 2018.

      37.    Plaintiff GREAT OLD BROADS FOR WILDERNESS (Great Old

Broads) is a national grassroots non-profit organization, led by elders, that engages

in and inspires activism to preserve and protect wilderness and wild lands. Great

Old Broads has over 8,000 members and supporters, many of whom reside and/or

engage in recreational activities in Utah. It was formed, in part, to protect the

interests of senior populations who value roadless areas, enjoy them without

mechanized means of transportation, and want to see these areas protected in their

natural state for future generations.

      38.    Protection of wild federal public lands in southern Utah has been an

important focus of Great Old Broads since it began in 1989. Great Old Broads has

conducted educational, stewardship, documentation, and advocacy activities related

to the lands within the Grand Staircase-Escalante National Monument. The

organization submitted public comments on the Monument Management Plan in

1999 and also requested its members to submit comments. Great Old Broads has

also advocated for wilderness designations in areas within the Monument.

      39.    Great Old Broads has monitored land health and watershed health

conditions in multiple field visits over many years, most recently in 2014 and 2015.

In 2009, Great Old Broads submitted comments on the Monument’s Rangeland

Health Draft Environmental Impact Statement. It also advocated for a grazing

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management plan for the Monument over many years. Great Old Broads filed a

lawsuit in 2009, along with a dozen conservation organizations, against the

Department of the Interior, challenging the designation of energy corridors in

western states, including within the Monument.

      40.    Great Old Broads has organized multi-day camping events in or

adjacent to the Monument, including five-day education, advocacy, and stewardship

events in 1996, 1997, and 1998, and the organization’s 20th anniversary

“Broadwalk” in 2009. Great Old Broads has attended Monument Advisory

Committee meetings. Great Old Broads has been a member of the Escalante River

Watershed Partnership since its inception and has held an annual week-long

stewardship project for the last five years to restore the Escalante River, which

flows through the Monument, by removing invasive Russian olive trees.

      41.    Because Great Old Broads is headquartered in Durango, Colorado,

many members consider Grand Staircase-Escalante their “backyard.” Members,

including Steve Allen, regularly visit the federal public lands in the Monument

(including the areas that have now been stripped of protection) to hike, backpack,

enjoy the outstanding scenery and fascinating archaeological sites, view native

plant and animal life, take photographs, conduct historical research, and experience

the remoteness and quiet of the area. Mr. Allen and other members will continue to

do so, including in 2018.

      42.    Plaintiff WESTERN WATERSHEDS PROJECT (WWP) is a non-profit

conservation organization founded in 1993 with the mission of protecting and

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restoring western watersheds and wildlife through education, public policy

initiatives, and legal advocacy. Headquartered in Hailey, Idaho, Western

Watersheds Project has field offices and members throughout the West. WWP has a

long-standing interest in the preservation of the Monument because its members

place a high value on the wild, undeveloped deserts that are protected from

industrial uses. WWP actively seeks to protect and recover the desert ecosystems of

the Monument and has for many years advocated for protection of native plants and

ecosystem health there from a variety of uses. It has done so both in the context of

specific permits and in land-use planning processes.

      43.       WWP has participated in a biological soil crust study, taken photos of

riparian damage and cored trees, addressed the Monument Advisory Council, made

presentations on vegetation treatments to the Monument’s managers, submitted

numerous public comments regarding management of the Monument, appeared in a

TV segment on grazing impacts to the Monument, and conducted field trips in the

Monument.

      44.       WWP staff and members, including Laura Welp and Jonathan Ratner,

regularly use lands in the Monument (including the areas that have now been

stripped of protection) for hiking, wildlife viewing, nature study, photography,

scenery viewing, and viewing of geological and archaeological features. Mr. Ratner,

Ms. Welp, and other members and staff make multiple trips to this national

monument each year. They have concrete plans to visit the Monument in 2018, and

future years.

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      45.    Plaintiff WILDEARTH GUARDIANS (Guardians) is a non-profit

organization dedicated to protecting and restoring the wildlife, wild places, wild

rivers, and health of the American West. The protection of the Monument is vital to

this work because the Monument preserves large tracts of unrestricted wildlife

habitat and migration routes. Thus, Guardians has an interest in the protection of

the Monument and the ecological resources contained therein that will be harmed

by the removal of the protections afforded by national monument status.

      46.    Guardians’ members and supporters recreate on public lands in Utah

and specifically in the Monument. Guardians’ staff and members, including Louise

Excell and David Pettit, frequently visit the Monument for the purposes of hiking,

observing archeological sites, bird watching, observing wildlife, spiritual

rejuvenation, landscape photography, and other recreational and professional

pursuits. Ms. Excell, Mr. Pettit, and other Guardians’ members and staff have firm

plans to continue visiting the scenic vistas, wildlife ecosystems, archeological sites,

and paleontological treasures in the Monument (including the areas that have now

been stripped of protection) in, 2018, and future years.

      47.    Plaintiff SIERRA CLUB was founded in 1892 and is the nation’s oldest

grass-roots environmental organization. It is a national non-profit organization of

over 800,000 members, including a Utah chapter with thousands of members. The

Sierra Club’s purpose is to explore, enjoy, and protect the wild places of the earth; to

practice and promote the responsible use of the earth’s ecosystems and resources; to

educate and enlist humanity to protect and restore the quality of the natural and

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human environment; and to use all lawful means to carry out these objectives.

Among the Sierra Club’s highest priorities is protecting and preserving the nation’s

national monuments. The Sierra Club’s concerns encompass all aspects of national

monuments, including the protection of wildlands, wildlife habitat, water resources,

air, archaeological sites, public health, and the health of its members, all of which

stand to be affected by Defendants’ actions as set forth herein.

      48.    Sierra Club members live, work, and recreate in the Grand Staircase-

Escalante area and use and enjoy the Monument on a regular basis for outdoor

recreation, nature study, birdwatching, photography, fishing, canoeing, hunting,

backpacking, camping, solitude, and a variety of other activities; they will continue

to do so in the future.

      49.    Sierra Club has a longstanding interest in protecting Grand Staircase-

Escalante National Monument. In addition to advocacy in support of the

designation of monument, Sierra Club has been active in ensuring that the

resources within the Monument are properly protected. The Utah Chapter of the

Sierra Club has engaged in advocacy regarding the management of the Monument.

Sierra Club has also taken action in the courts, for example, by filing an amicus

curiae brief in a case regarding road development within the Monument.

      50.    Sierra Club members’ concerns encompass the exploration, enjoyment,

and protection of the Monument for themselves and future generations. For

example, Sierra Club Utah Chapter member Jim Catlin first visited the area that

would become the Monument in 1976. For years, he actively supported protection

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for the Monument through scientific research and public engagement. He attended

the ceremony when President Clinton designated the Monument. He also wrote the

Sierra Club comments for the Department of the Interior’s 2017 national monument

review. Mr. Catlin plans to continue visiting the Monument (including the areas

that have now been stripped of protection) in the future, including in 2018.

      51.    Plaintiff CENTER FOR BIOLOGICAL DIVERSITY (the Center) is a

national non-profit organization dedicated to the protection of native species and

their habitats through science, policy, and environmental law. The Center has over

61,000 members and is headquartered in Tucson, Arizona.

      52.    The Center’s members and staff, including Taylor McKinnon, have

visited the public lands within the Monument (including the areas that have now

been stripped of protection) for hiking, camping, viewing and studying wildlife,

photography, and other vocational and recreational activities. The Center’s

members and staff derive recreational, spiritual, professional, scientific,

educational, and aesthetic benefit from their activities in these areas.

Mr. McKinnon and other members and staff have specific intentions to continue

using and enjoying these areas frequently and on an ongoing basis in the future.

      53.    The Center has a long history of environmental advocacy within the

southwestern United States generally, and in relation to public lands conservation

in particular. As specifically relevant to this matter, the Center has worked to

protect species and habitats that occur on these public lands in Utah within the

Monument including Mexican Spotted Owl, northern goshawk, California condor,

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greater sage-grouse, Southwestern willow flycatcher, yellow-billed cuckoo, spotted

bat, Arizona toad, Colorado cutthroat trout, Colorado pikeminnow, and razorback

sucker. Further, Center members participated in efforts to establish the

Monument.

      54.    In their effort to support the Grand Staircase-Escalante National

Monument’s designation, many of the Plaintiff groups submitted comments on the

Department of the Interior review of the Monument between May and July 2017.

                                  DEFENDANTS

      55.    Defendant DONALD J. TRUMP is sued in his official capacity as

President of the United States. He currently resides and conducts his duties in

Washington, D.C.

      56.    Defendant RYAN ZINKE is sued in his official capacity as the

Secretary of the Interior of the United States.

      57.    Secretary Zinke is responsible for ensuring that the Department of the

Interior and its constituent agencies, including the BLM, comply with the

applicable law, including the 1996 Proclamation’s direction and requirements for

managing the Monument.

      58.    The Secretary of the Interior resides and conducts his duties in

Washington, D.C.

      59.    Defendant BRIAN STEED is sued in his official capacity as the official

who is exercising the authority of the Director of the BLM, a bureau within the U.S.

Department of the Interior.

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      60.    The Director of the BLM (and currently Mr. Steed) is responsible for

ensuring that the BLM complies with the applicable law, including the 1996

Proclamation’s direction and requirements for managing the Monument.

      61.    The Director of the BLM (and currently Mr. Steed) resides and

conducts his duties in Washington, D.C.

      62.    The above-named Defendants have the authority, ability, and

obligation to remedy the harms alleged to Plaintiffs’ interests.

                              LEGAL BACKGROUND

        THE ANTIQUITIES ACT AND RELATED CONSTITUTIONAL
              LIMITS ON THE PRESIDENT’S AUTHORITY

      63.    The U.S. Constitution’s Property Clause gives Congress the exclusive

“[p]ower to dispose of and make all needful Rules and Regulations respecting the

Territory or other Property belonging to the United States.” U.S. Const. art. IV, § 3,

cl. 2 (the Property Clause). Exercising this power, Congress may withdraw federal

public land from entry or manage it and prescribe limitations on its use. It may

also sell, lease, or otherwise convey federal public land to third parties.

      64.    In 1906, Congress delegated a discrete part of its Property Clause

power to the President when it enacted the Antiquities Act. The Act authorizes the

President to “declare by public proclamation historic landmarks, historic and

prehistoric structures, and other objects of historic or scientific interest that are

situated on land owned or controlled by the Federal Government to be national

monuments,” and to “reserve parcels of land as a part of the national monuments”


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that comprise “the smallest area compatible with the proper care and management

of the objects to be protected.” 54 U.S.C. § 320301(a), (b).

      65.    Using Congress’s delegation of authority in the Antiquities Act,

Presidents have declared by proclamation 157 national monuments in thirty-two

states, four territories, two oceans, and the District of Columbia. Depending on the

nature and location of the objects to be protected, national monument designations

have ranged from just a few acres to millions of acres in size.

      66.    A President’s national monument designation immediately confers

enhanced protection for the identified “objects of scientific and historic interest” and

for the lands on which they are found. 54 U.S.C. § 320301(a). Once designated as a

national monument, those lands must be managed for the purpose of preserving

and safeguarding the objects of scientific and historic interest located there.

      67.    The President may also restrict specified uses in the proclamation

itself. For example, to ensure that objects of scientific or historic interest are

effectively protected, Presidents have used their Antiquities Act authority to

“withdraw” national monument lands from mineral location under the General

Mining Law of 1872, 30 U.S.C. § 21 et seq., and from leasing for oil and gas

exploration and development under the Mineral Leasing Act of 1920, 30 U.S.C.

§ 181 et seq.—as President Clinton did in the 1996 Proclamation establishing the

Monument.




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      68.      In a national monument, the protection of the identified objects of

historic or scientific interest is the paramount purpose for which the land is to be

managed.

      69.      In the Antiquities Act, Congress granted the President limited

authority to “declare . . . national monuments” and “reserve parcels of land as a part

of the national monuments.” 54 U.S.C. § 320301(a), (b) (emphases added).

Congress did not authorize the President to abolish national monuments, in whole

or in part, once they have been designated. Only Congress has that power.

      THE GRAND STAIRCASE-ESCALANTE NATIONAL MONUMENT

      70.      The Grand Staircase-Escalante National Monument is the 104th

national monument to be established under the Antiquities Act. The land within

the Monument boundary is federal public land, owned by all Americans. The 1996

Proclamation establishing the Monument describes in detail the geological,

paleontological, ecological, archaeological, historic, and cultural significance of the

Grand Staircase landscape and the landmarks and objects found there, and sets

forth provisions and requirements that are essential to their future protection.

      71.      For example, the Proclamation describes the following objects of

scientific and historic importance found within the Monument and that warranted

protection under the Antiquities Act:

            a. World-class paleontological sites and the best record of late Cretaceous

               terrestrial life in the world, resources whose importance has been

               repeatedly borne out since the Monument’s designation. Thousands of

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    fossils have been recovered from the Kaiparowits Plateau within the

    Monument, and they have significantly advanced scientists’

    understanding of the ecosystems that existed before the Cretaceous-

    Paleogene extinction. Twenty-one species of dinosaurs previously

    unknown to science have been discovered in the Monument. The sites

    also contain large, unbroken petrified wood specimens exceeding thirty

    feet in length and fossils of mollusks, turtles, crocodilians, lizards,

    fishes, and mammals, which continue to provide unrivaled

    opportunities to study the paleontology of the late Cretaceous Era.

 b. Brilliantly colored landscape showcasing geologic treasures of

    sedimentary rock formations unobscured by vegetation, and which lay

    bare millennia of Earth’s geologic history. Canyon systems—formed by

    eons of erosional forces—wind through thousands of square miles of

    successively ascending plateaus and layered rock formations. The

    serpentine rock formations of the upper Escalante Canyons reveal

    vivid sandstone and shale deposits in shades of red, maroon, chocolate,

    tan, gray, and white.

 c. The grand geologic staircase of great cliffs and plateaus that rise from

    the Grand Canyon to Zion, and then another 8,300 feet to the Aquarius

    Plateau, which was first described as a “stairway” by explorer Clarence

    Dutton in the 1800s.



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            d. The Monument was a point of intersection and contact for different

               Native American cultures, providing significant opportunities for

               archaeological study, including sites with extensive archaeological

               objects left behind by ancient Native American cultures. Diverse

               groups of Ancestral Puebloan cultures mingled in the area, providing

               opportunities for archaeological study based on their rock art panels,

               occupation sites, campsites, and granaries. Many more undocumented

               sites remain in the Monument and are of significant scientific and

               historic value worthy of preservation for future study. Hundreds of

               recorded rock art panels, occupation sites, campsites, and granaries

               exist throughout the Monument. Native American tribes such as the

               Southern Paiute, Navajo, Hopi, Zuni, and other tribes continue to use

               the Monument today.

            e. Explorer John Wesley Powell conducted scientific field work in the

               Monument, and early Mormon pioneers left their marks there,

               including migration routes and trails, rock inscriptions, ghost towns,

               rock houses, and cowboy line camps.

      72.      The Monument is also an outstanding biological resource, with what

the Proclamation describes as “perhaps the richest floristic region in the

Intermountain West.” 61 Fed. Reg. at 50,224. As the Proclamation recognizes, the

Monument’s remoteness and limited travel corridors helped preserve its unique

desert flora and fauna. The landscape hosts many endemic species and an

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abundance of hanging gardens, tinajas (natural pockets in the rock that hold

water), along with rock crevices, canyons, and dunal plant communities. The

geologic uplift, deformation, and erosion of the landscape have exposed large

expanses of soil layers with distinct physical and chemical characteristics, which, in

turn, support numerous vegetative communities, endemic plants, and their

pollinators. Undisturbed by human impacts, remote locations within the

Monument harbor relict plant communities, with pinon-juniper trees up to 1,400

years old. There are over 650 species of bees in the Monument, including

approximately four dozen species that were unknown to scientists before 2003.

Over 200 species of birds are also found in the Monument, including bald eagles,

peregrine falcons, and neotropical migrant songbirds that concentrate around rivers

and streams within the Monument.

      73.    Based on the grand scale of the Monument’s geology and the

importance of protecting it from degradation and other impacts, as well as the

presence of other objects requiring protection in the Grand Staircase region,

President Clinton determined that the boundaries of the Monument represented the

smallest size compatible with the protection of the objects contained therein.

      74.    The 1996 Proclamation made clear that the listed objects were

immediately subject to the Antiquities Act’s protections, stating: “Warning is hereby

given to all unauthorized persons not to appropriate, injure, destroy, or remove any

feature of this monument and not to locate or settle upon any of the lands thereof.”



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      75.    The 1996 Proclamation also mandated specific protections and use

limitations. It provided that “[a]ll Federal lands . . . within the boundaries of this

monument are hereby appropriated and withdrawn from entry, location, selection,

sale, leasing, or other disposition”—an immediate prohibition of the location of any

new mining claims and the offering of any new leases, including the processing of

non-competitive lease sale offers, for oil and gas development.

      76.    The 1996 Proclamation required the BLM to “manage the monument”

consistently with “the purposes of this proclamation”—that is, the protection of the

listed geological, paleontological, ecological, archaeological, historic, and cultural

resources it was created to protect. The 1996 Proclamation specifically required the

BLM to prepare a management plan for the Monument to ensure that the purposes

of the Proclamation were achieved.

      The Grand Staircase-Escalante Monument Management Plan

      77.    Prior to the Monument’s designation, the BLM managed these lands

pursuant to the Federal Land Policy and Management Act (FLPMA). Except for

public lands governed by a special protective designation, such as a national

monument designation, FLPMA generally requires the BLM to manage federal

public lands in accordance with the “multiple use, sustained yield” principle, which

allows for a range of uses, including oil and gas drilling, mining, off-highway vehicle

use, and wilderness protection. See, e.g., FLPMA, 43 U.S.C. §§ 1702(c), 1712

(implementing multiple use in development and revision of land use plans); id.

§ 1732(a) (lands dedicated to specific uses not governed by FLPMA).

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      78.    Before 1996, this multiple-use approach to land management in the

Grand Staircase region failed to safeguard the unique landscape and the historic

and cultural sites situated there. For example, ineffective management and poorly

regulated off-highway vehicle use led to environmental damage as well as the

looting and vandalism of cultural sites and fossils. Relying on multiple-use

principles, the BLM also leased large tracts of federal public land for coal mining

and oil and gas drilling, and in the years leading up to 1996, it was working toward

the approval of a large coal mine in the Kaiparowits Plateau.

      79.    The 1996 Proclamation dramatically changed BLM’s development-

oriented approach to the management of these remarkable lands, requiring an

integrated management approach across the Monument to focus instead on

preservation of the objects identified in the Proclamation. It also laid the

groundwork for a new management regime that would identify and implement for

years to come the changes necessary to ensure that the Monument’s resources were

protected. Specifically, the 1996 Proclamation required the BLM to “prepare . . . a

management plan for this monument, and [to] promulgate such regulations for its

management as [the agency] deems appropriate.” Proclamation No. 6920, 61 Fed.

Reg. at 50,225.

      80.    The Monument Management Plan ensures that the protective

purposes for which the Monument was designated are fulfilled and that all future

activities on the Monument conform to the management plan. The Proclamation

and the Plan meant that for the first time the BLM would focus on the conservation,

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instead of the exploitation, of the federal public lands within the Monument

boundaries.

      81.     In 2000, after a three-year-long process, the BLM issued a Monument

Management Plan comprehensively detailing the BLM’s management prescriptions

for the Monument’s protected resources—including archaeology, fish and wildlife,

geology, history, paleontology, soils, water, and vegetation. The BLM has managed

the Monument pursuant to that plan since 2000. BLM, Grand Staircase-Escalante

National Monument Management Plan (Monument Management Plan) (Feb. 2000).

      82.     In particular, the Monument Management Plan required the BLM to

manage and monitor uses of the Monument to prevent damage to its resources,

increase public education and appreciation of the resources, and facilitate research

of the resources to promote the Monument’s role as a laboratory for the

preservation, study, and appreciation of cultural heritage. Pursuant to the Plan,

the BLM manages a variety of uses that are consistent with the conservation

mandate of the Act and the Proclamation. In particular, it provides for heightened

protection in certain zones within the Monument to safeguard their remote and wild

character. These areas of the Monument provide a primitive and undeveloped

visitor experience with limited motorized access and no facilities in areas

designated as the “primitive zone.” They also provide opportunities for landscape-

scale research.

      83.     The Monument Management Plan recognized the wealth of

information on prehistoric life and environment provided by numerous

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paleontological sites in the Monument. “The sequence of rocks found on the

Kaiparowits Plateau contains one of the best and most continuous records of Late

Cretaceous terrestrial life in the world.” The Plan requires the BLM to inventory

and monitor the Monument for paleontological resources and manage uses to

prevent damage to these resources. Id.

      84.    The Monument Management Plan also established a Monument

Advisory Committee (the Committee), chartered under the Federal Advisory

Committee Act, to consult with the Monument’s managers in the adaptive

management process. Id. at 66. The Committee included scientists with expertise

in areas relevant to the management of the Monument, including archaeology,

paleontology, geology, botany, wildlife biology, history, social science, and systems

ecology, as well as members of the community, including county officials, educators,

local outfitters and guides, tribal government officials, and environmental

advocates. Id. The Committee provided a mechanism for stakeholders, including

Plaintiffs, to participate directly in the Monument’s management decisions and to

more effectively protect the landscape and the objects in them. Some Plaintiffs’

members have served on the Committee or have participated in public meetings

since the Committee was chartered.

      85.    Because of the conferral of Monument status and the resulting

Monument Management Plan, research in the Monument has expanded

significantly and in ways that were not possible before the designation. This

research has contributed to a growing wealth of knowledge about a previously

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unknown fossil record, the prehistory of the early Native Americans, and aspects of

the ecological functions of desert plant and animal life. Fossils excavated from the

Monument are now studied, interpreted, and on display in local, regional, and

national museums.

       Enhanced Administrative and Congressional Protection for
       National Monuments

      86.    In 2000, the Department of the Interior established the National

Landscape Conservation System (NLCS), a new system of conservation for BLM-

managed lands designated as national monuments (including Grand Staircase-

Escalante National Monument), national conservation areas, wilderness areas,

wilderness study areas, wild and scenic rivers, national historic and scenic trails,

and other similar designations.

      87.    Congress formally adopted the NLCS framework in the Omnibus

Public Land Management Act of 2009, which “establishe[s] in the Bureau of Land

Management, the National Landscape Conservation System” to “conserve, protect,

and restore nationally significant landscapes that have outstanding cultural,

ecological, and scientific values for the benefit of current and future generations.”

16 U.S.C. § 7202(a). The 2009 Act specifies that “[t]he system shall include . . .

[e]ach area that is designated as . . . a national monument.” Id. § 7202(b)(1)(A).

Congress thereby expressly ratified the Grand Staircase-Escalante National

Monument as defined in the 1996 Proclamation.




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       88.    On a number of occasions prior to that point, Congress had also

specifically confirmed its approval of—and added more land to–the Monument. In

1998, Congress ratified an agreement exchanging lands controlled by Utah within

various federal tracts for federal lands outside of the Monument to “resolve many

longstanding environmental conflicts and further the interest of the State trust

lands, the school children of Utah, and these conservation resources.” Utah Schools

and Lands Exchange Act, Pub. L. No. 105-335, § 3, 112 Stat. 3139, 3141 (1998). As

part of the agreement, Utah exchanged “approximately 176,698.63 acres of land and

the mineral interest in approximately an additional 24,000 acres” that were “within

the exterior boundaries of the Monument” for federal lands outside the Monument

boundaries. Agreement to Exchange Utah School Trust Lands Between the State of

Utah and the United States of America, as ratified by Pub. L. No. 105-335, §§ 2-3,

112 Stat. at 3139-41. Also in 1998, Congress passed the Automobile National

Heritage Area Act that added and removed certain lands on the boundaries of the

Monument. Pub. L. No. 105-355, § 110, 112 Stat. at 3247, 3252-53. Together, these

two Acts of Congress added roughly 200,000 acres of land to the Monument, making

its total area 1.9 million acres.

       89.    Further, between 1996 and 2017, Congress appropriated millions of

dollars to the Monument’s budget every year, supporting the BLM’s efforts to

implement its conservation mandate and protect the objects set forth in the 1996

Proclamation, and to increase the number of BLM staff members dedicated to

managing the Monument in accordance with the 1996 Proclamation. To ensure the

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Monument enjoyed lasting protection from the proposed coal mining, Congress also

appropriated funds to buy back the coal leases in the Monument. Department of

the Interior and Related Agencies Appropriations Act, 2000, Pub. L. No. 106-113,

113 Stat, 1501, 1501A-215.

      90.    The congressional budget appropriations also supported the creation of

four visitor centers that interpret the Monument and its historic and scientific

objects through exhibits, a large-scale archaeology excavation diorama, a

topographic relief of the Monument, vibrant murals, and dinosaur fossil exhibits.

        PRESIDENT TRUMP’S UNLAWFUL PROCLAMATION
    REVOKING MONUMENT STATUS FROM ROUGHLY HALF OF THE
                       MONUMENT

      91.    Even before President Trump’s January 20, 2017 inauguration, Utah

politicians, including members of the state’s congressional delegation and those who

support coal mining on the Kaiparowits, began to lobby him to abolish or cut back

the Monument.

      92.    On April 26, 2017, President Trump issued Executive Order 13,792, 82

Fed. Reg. 20,429 (Apr. 26, 2017), which directed the Secretary of the Interior to

“review” national monuments designated since 1996, the year President Clinton

designated the Monument. On information and belief, the twenty-one year

timeframe was designed specifically because Defendants intended to abolish in

whole or in part the Grand Staircase-Escalante National Monument.

      93.    As the President prepared to sign the order, Vice President Mike Pence

presaged the outcome of the review, explaining that President Trump was about “to

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undo one of the great Federal overreaches of recent decades: the abuse of the

Antiquities Act . . . to grab land and power at the American people’s expense.”

President Trump followed with his own preview of the outcome of the process: “I’m

signing a new executive order to end another egregious abuse of federal power,”

referring to previous Presidents’ use of the Antiquities Act. Although the affected

monument lands are federal public property owned by all Americans and have

never been under state control, the President declared: “Today we are putting the

states back in charge.” The President also highlighted the lobbying by Senator

Orrin Hatch of Utah to reverse monument designations in Utah and the “never-

ended prodding” by Senator Mike Lee of Utah toward the same end. The President

stated, “I’m very proud to be doing it in honor of you guys.”

      94.      Executive Order 13,792 required the Secretary to provide reports and

recommendations to the President concerning future actions regarding the

monuments.

      95.      The Order directed the Secretary of the Interior to evaluate the

monuments according to a variety of factors absent from the Antiquities Act,

including:

             a. “the effects of a designation on the available uses of designated Federal

               lands, including consideration of the multiple-use policy of section

               102(a)(7) of the Federal Land Policy and Management Act (43 U.S.C.

               § 1701(a)(7)), as well as the effects on the available uses of Federal

               lands beyond the monument boundaries;

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            b. “the effects of a designation on the use and enjoyment of non-federal

               lands within or beyond the monument boundaries;

            c. “concerns of State, tribal, and local governments affected by a

               designation, including the economic development and fiscal condition

               of affected States, tribes and localities;

            d. “the availability of federal resources to properly manage designated

               areas; and

            e. “such other factors as the Secretary deems appropriate.”

Exec. Order No. 13,792 § 2(a) (emphasis added).

      96.      On May 11, 2017, the Department of the Interior announced that it

was accepting public comments on twenty-seven monuments it intended to review

pursuant to the Executive Order, including the Grand Staircase-Escalante National

Monument, and that it would conduct the review based on the criteria set forth in

Section 2 of the President Trump’s Order. 82 Fed. Reg. 22,016, 22,016-17 (May 11,

2017). The public comment period for all 27 monuments under review, including

Grand Staircase-Escalante, was open for just sixty days. Despite the brief comment

period, the Interior Department received 2.8 million comments, which, with near

unanimity, supported the monuments under review.

      97.      On information and belief, the Secretary of the Interior applied the

factors set forth in Executive Order 13,792 and submitted his report on Grand

Staircase-Escalante National Monument (among other monuments) to President

Trump on August 24, 2017. Neither Secretary Zinke nor President Trump released

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this report publicly, but national news reporters obtained what appears to be a

leaked copy of the report. The Secretary’s report acknowledged that the public

comments received were “overwhelmingly in favor of maintaining existing

monuments.” Nevertheless, as to Grand Staircase-Escalante, the Secretary

recommended that the President eliminate portions of the Monument and

associated protective management for those excised areas.

      98.    President Trump issued a Presidential Proclamation “Modifying the

Grand Staircase-Escalante National Monument” on December 4, 2017 (the Trump

Proclamation), revoking monument status from nearly half of the Grand Staircase-

Escalante National Monument, and segmenting it into three smaller, non-

contiguous units, which he named the Grand Staircase, the Kaiparowits, and the

Escalante Canyons units. Although the Proclamation claimed to “modif[y]” the

Grand Staircase-Escalante National Monument, it abolished monument status for

nearly 900,000 acres of previously protected public lands (including 80,000 acres of

land that Congress had added to the Monument), on which the 1996 Proclamation

identified numerous objects of scientific and historic importance worthy of

protection under the Antiquities Act.

      99.    President Trump’s proclamation lacks a rational explanation of the

President’s authority to issue the proclamation, or an explanation for the decision to

exclude areas with documented values that qualify for protection under the

Antiquities Act.



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      100.     President Trump’s use of the term “modify” does not change the fact

that his action strips monument status from nearly 900,000 acres of previously

protected land. The President has no constitutional or statutory authority to take

such action.

      101.     Because of President Trump’s proclamation eliminating much of the

Monument from protected status under the Antiquities Act, the Department of the

Interior will no longer implement the protections required by President Clinton’s

1996 Proclamation on the lands removed from national monument status. On

information and belief, Defendants will no longer implement or comply with the

1996 Proclamation unless the Court declares President Trump’s action unlawful

and sets it aside.

      102.     On information and belief, there is a substantial likelihood that

Defendants will promptly revert to their pre-designation land management

approach for the lands stripped of monument protection under the more permissive,

pro-development “multiple use” regime, without the protective mandate of the

Proclamation. The Trump Proclamation will, accordingly, result in significantly

less protection of the resources identified in the 1996 Proclamation and the 2000

Management Plan. Without monument status, the BLM will not protect the scenic,

scientific, ecological, historic, and cultural resources on these lands, and, on

information and belief, it will reopen lands to coal mining and oil and gas drilling,

with devastating consequences to the wild character and the scientific resources of

the Monument.

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       PRESIDENT TRUMP’S ACTION HARMS PLAINTIFFS’ INTERESTS
             BY ELIMINATING PROTECTIONS REQUIRED BY
                      THE 1996 PROCLAMATION

      103.   The Plaintiff organizations actively supported the designation and

protection of the Monument and have long advocated for its effective management.

They have participated in numerous public processes involving a variety of issues,

including development of the Monument Management Plan, grazing permits, oil

and gas drilling on grandfathered leases, off-highway vehicle management,

watershed restoration, and recreation management.

      104.   Each of the Plaintiff organizations also has individual members who

regularly use and enjoy the Monument, including the lands stripped of protection by

the Trump Proclamation, for a variety of purposes, including scientific study, hiking

and recreation, wildlife viewing, cultural and spiritual purposes, and aesthetic

appreciation of the unmarred night skies, natural quiet, and pristine beauty.

      105.   Plaintiffs’ members value the beauty, remoteness, and largely

unspoiled nature of the landscape and the geological, paleontological,

archaeological, historic, cultural, and ecological resources found throughout the

Monument, including in the areas that President Trump’s proclamation stripped of

monument protection.

      106.   For example, the Circle Cliffs form a towering forty-mile loop in the

northeastern corner of the Grand Staircase-Escalante National Monument. The

Circle Cliffs area contains known deposits of tar sands and falls in a Designated

Special Tar Sand Area. Because the Circle Cliffs fall within the Monument as
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designated in 1996, those tar sands have not been exploited and the remote

wilderness landscape has been preserved. Plaintiffs’ members visit the Circle Cliffs

for quiet solitude and to hike. Following Trump’s Proclamation, the Circle Cliffs

have been stripped of monument status.




              Fig. 1: Circle Cliffs
              Credit: Jeff Foott



      107.   The Rimrocks are a collection of sandstone spires eroded over millions

of years. These unique toadstool formations were formed by boulders falling on top

of softer sandstone rocks, which protected the underlying sandstone from erosion.

Plaintiffs’ members visit the Rimrocks for aesthetic appreciation and to observe its

remarkable geology. Following Trump’s Proclamation, the Rimrocks have been

stripped of monument status.




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             Fig. 2: Rimrocks
             Credit: James Kay



      108.   Near Hole in the Rock Road, the Sunset Arch is a spectacular

sandstone formation on the south slopes of Fortymile Ridge. It is a popular hiking

destination that provides expansive views and a wealth of photo opportunities.

Prior to monument designation, this area was leased for oil and gas drilling and

subject to exploratory drilling. Plaintiffs’ members hike to the Sunset Arch to

appreciate its geology. Following Trump’s Proclamation, Sunset Arch has been

stripped of monument status.




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               Fig. 3: Sunset Arch
               Credit: James Kay

      109.   The 1996 Proclamation benefited Plaintiffs’ members by withdrawing

those lands from mineral entry and leasing, and protecting them from the damaging

impacts of mining, oil and gas exploration and development, trail and road

construction, excessive off-highway vehicle use, artifact and fossil theft and

destruction, and other harmful activities.

      110.   Plaintiffs’ members’ use and enjoyment of the Monument have been

enhanced by the protection required by the 1996 Proclamation, as implemented by

the 2000 Management Plan, because Monument status conferred additional

protections above and beyond the inadequate prior management regime on the

area’s fragile resources. It also ended the threat of new coal leasing and mining, the

location and development of new hardrock mining claims, and new oil and gas

leasing on Monument lands.

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      111.   The geology, biology, and cultural sites in the Monument have

significant value for the American public at large, and for Plaintiff organizations

and their members specifically. Plaintiffs’ members visit this area to admire the

unique geology, learn about the ecology, and examine the objects of antiquity found

throughout the Monument. The Monument has also provided Plaintiffs’ members

with important opportunities to view and study wildlife in an undisturbed, natural

environment.

      112.   President Trump’s action will adversely affect Plaintiffs’ members’

interests by removing those protections on nearly 900,000 acres—including the

protections against mineral leasing, coal mining, oil and gas exploration and

development, hardrock mining claims, road construction, and off-highway vehicle

access on lands that they regularly use—and allowing activities to commence that

will disturb the tranquility and scenic beauty of the area and expose irreplaceable

paleontological and cultural sites to heightened risk of damage and looting.

      113.   TWS’s members are also harmed by Defendants’ abandonment of

stakeholder processes for lands excluded from the 1996 Monument—including their

participation on the Monument Advisory Committee. These processes are designed

to fulfill the requirements of the 1996 Proclamation, which have enabled Plaintiffs’

members to have input and influence decisions about how to manage the

Monument, all of which led to the BLM’s more effective conservation of the

Monument.



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      114.   President Trump’s action renders one of the country’s most pristine,

unique landscapes vulnerable to immediate and imminent harm, and thus injures

the aesthetic, recreational, scientific, cultural, spiritual, and educational values that

Plaintiffs’ members derive from the Monument as designated in 1996 and then

expanded by subsequent congressional action.

      Coal Mining

      115.   In particular, President Trump’s action will reopen previously

protected Monument lands to coal mining under the Mineral Leasing Act of 1920,

30 U.S.C. § 181 et seq.

      116.   Before the 1996 Proclamation, coal companies had leased numerous

sites within the Monument boundaries, particularly on the Kaiparowits Plateau,

where the U.S. Geological Survey estimated in 1996 that there were 62.3 billion

tons of coal. The Kaiparowits Plateau is a fifty-mile-long, high-elevation

escarpment in the heart of the Monument and from which researchers and

volunteers have excavated and studied tens of thousands of rare fossils.

      117.   After the 1996 Proclamation, the Secretary of the Interior negotiated

the repurchase of large coal leases to eliminate the threats of industrial

development and to manage the lands in the Monument boundaries as an unspoiled

natural area. In 2000, Congress appropriated the funds for this transaction.

      118.   Absent the protection conferred by the 1996 Proclamation, there is a

substantial likelihood that the BLM will authorize new coal leases in the now-

excluded areas and allow leaseholders to engage in activities with long-lasting

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impacts—including the excavation of coal mines, elimination of surface vegetation

and displacement of native fauna, release of pollution into waterways, and the

construction of new roads (for hauling soil and coal) with the resulting truck traffic,

fumes, debris, noise, and other damage. These activities threaten to disrupt not

only the land on which the leases are sold, but will also affect the surrounding

areas.

         119.   President Trump has acknowledged that he initiated the monument

review, in part, at the behest of Utah Senator Orrin Hatch, a vocal proponent of coal

mining in the Monument. Members of Utah’s state legislature have also pressured

the administration to open the Monument for coal mining. According to Senator

Hatch, the President diminished the Monument specifically to allow coal mining in

the Kaiparowits Plateau. When Secretary Zinke visited Grant Staircase, the Kane

County government presented him with a map proposing boundary adjustments

that would exclude areas with coal deposits.

         120.   On information and belief, the BLM will lease lands for coal mining

that would, absent the Trump Proclamation, have been protected by the 1996

Proclamation and the 2000 coal lease repurchase authorized by Congress, posing an

immediate and substantial threat to the invaluable geological and paleontological

resources found there.

         Oil and gas leasing

         121.   Additionally, because of President Trump’s action, lands that were

protected under the 1996 Proclamation and subsequent congressional legislation

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are now also open for oil and gas leasing under the Mineral Leasing Act of 1920, 30

U.S.C. § 181 et seq.

      122.   Absent the Monument’s protections, the BLM may authorize new

leaseholders to engage in activities with long-lasting, harmful impacts—including

the scraping of surface vegetation (for drill pads, tanks, and other facilities

associated with drilling) and the construction of new roads and pipelines (with the

resulting truck traffic, fumes, debris, and other damage)—with few restrictions.

These activities threaten not only to disrupt the land on which leases are sold, but

will also affect the surrounding areas.

      123.   Prior to the 1996 Proclamation, the oil and gas industry commonly

sought leases and permits to drill on lands within the Monument boundaries, and in

many instances the BLM approved the sale of oil and gas leases and applications for

permits to drill on those lands. In particular, the BLM sold leases in Kaibab Gulch,

Middle Moody Canyon, Stud Horse Peaks, along the Hole-in-the-Rock road, and

near the town of Escalante—all areas that were included within the Monument

under the 1996 Proclamation, but which President Trump has cut out of the

Monument. As a result of the Trump Proclamation, the BLM is expected to again

sell leases within the Grand Staircase-Escalante National Monument’s boundaries,

creating an immediate and substantial risk of development that would threaten the

Monument objects identified in the 1996 Proclamation for years to come.

      124.   On information and belief, the BLM’s first oil and gas lease sale where

it could offer these lands will be held in March 2018.

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      125.   There also remain some active leases within the Grand Staircase-

Escalante National Monument’s boundaries. These leases now will be developed

more easily without the protective limitations that monument status requires.

      Hard-rock mining

      126.   Because of President Trump’s action, the BLM will no longer protect

from mineral entry Monument lands that were protected under the 1996

Proclamation or added by later congressional legislation, and there is a

substantially heightened risk that these lands will be subject to staking and mining

claims under the General Mining Law of 1872, 30 U.S.C. § 21 et seq.

      127.   There are deposits of hardrock minerals, including copper, uranium,

titanium, alabaster, and zirconium, throughout the Grand Staircase-Escalante

National Monument. On information and belief, new mining claims will

imminently be located on federal public lands that were protected under the 1996

Proclamation and on lands that Congress subsequently added to the Monument.

      128.   Prospectors do not need permits or other prior authorization from the

BLM or any other government agency to locate and record hard-rock mining claims

on lands excluded from Monument status. Where valuable minerals are present,

mining claims constitute valid property interests, creating a persistent cloud on the

affected public land and often limiting the federal land managers’ ability to preserve

the natural character of the land.

      129.   President Trump’s decision to strip monument status from nearly

900,000 acres of the Grand Staircase-Escalante National Monument substantially

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increases the risk that prospectors will engage in exploration activities (“casual use”

and “notice use” activities) on public lands and mining claims where they previously

could not. See 43 C.F.R. §§ 3809.10(a), 3809.605(b) (casual use); id. §§ 3809.21,

3809.312(a) (notice use).

      130.   Notice-level activities may involve road construction, which can

generate dust and waste, scrape lasting scars into the soil, remove native

vegetation, disturb wildlife habitat, introduce exotic species, increase erosion, and

harm water quality. See id. § 3809.5 (defining exploration activities). Truck traffic

and other surface development associated with hardrock mining activity result in

new auditory and visual intrusions in areas that would otherwise be quiet and

pristine. All of these impacts harm Plaintiffs’ members’ interests and diminish

their enjoyment of the natural setting in the Monument.

      131.   There is a substantial risk that these activities will resume as a result

of the Trump Proclamation, and that the natural, paleontological, and

archaeological resources in the Monument will be harmed, as will the interests of

Plaintiffs’ members who visit the Monument for quiet recreation, solitude, and

aesthetic appreciation.

      132.   Mineral exploration and development have destructive impacts not

only on the claimed land itself, but also on the surrounding area. Increased noise

and vehicle traffic threaten the unique character of the Monument, described in the

1996 Proclamation as a “high, rugged, and remote region, where bold plateaus and



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multi-hued cliffs run for distances that defy human perspective” and where the

“unspoiled natural area remains a frontier.”

      Roads and off-highway vehicle use

      133.   After years of the BLM’s failure to manage off-highway vehicles and

prevent the widespread damage they caused throughout the Monument lands, the

1996 Proclamation required the BLM to regulate off-highway vehicle use to protect

the natural, archaeological, cultural, and paleontological resources within the

Monument’s boundaries. As a part of the Monument Management Plan, the BLM

implemented a travel management plan that substantially reduced the miles of dirt

roads and trails available for motorized vehicles and further delineated certain

trails where off-highway vehicles could not be used. Plaintiffs successfully defended

that travel plan from a challenge by local counties and entities.

      134.   The Trump Proclamation provides that “the Secretary may allow

motorized … use on roads and trails existing immediately before the issuance [of

President Clinton’s Proclamation] and maintain roads and trails for such use.” The

Trump Proclamation, stripping monument status from excised Monument lands, as

well as purporting to modify the status of lands retaining Monument status, makes

it substantially more likely that restrictions on roads and motorized vehicles in

these areas will be lost.

      135.   On information and belief, with the Monument designation rescinded,

new dirt roads and trails will be constructed and designated, existing dirt roads and

trails will be widened and improved, and motorized use, including off-highway

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vehicle use, will increase and spread into new areas currently not accessed by

vehicular traffic. For example, the BLM has previously relied on the Monument

transportation plan to close hundreds of miles of dirt roads and trails to motorized

and off-highway vehicle use; those protections will now be jeopardized in the areas

excluded from monument status.

      136.   The revocation of the Monument designation and its limitations on off-

highway vehicles harms Plaintiffs’ members’ aesthetic, cultural, spiritual,

recreational, scientific, and educational interests through noise, air pollution, and

other physical damage to the land, water, wildlife habitat, scenery, and cultural

resources that Plaintiffs’ members wish to enjoy in their pristine state.

      137.   The revocation of the Monument designation and the removal of the

limitations on off-highway vehicles will put paleontological, ecological, and cultural

sites in serious jeopardy. On information and belief, the lands stripped of

monument protections would no longer receive protections specifically for those

sites and artifacts.

      Agency Defendants have decided not to carry out their duties under
      the 1996 Proclamation

      138.   Due to President Trump’s action, on information and belief,

Defendants have decided not to carry out their duties under the 1996 Proclamation.

      139.   President Trump (by attempting to revoke monument status from

nearly half of the Grand Staircase-Escalante National Monument and nullify the

1996 Proclamation) and Defendants Secretary of the Interior and Director of the


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Bureau of Land Management (by failing to carry out their duties under the 1996

Proclamation) have deprived Plaintiffs of the benefits of the protections guaranteed

by the 1996 Proclamation.

      140.   Defendants’ actions adversely affect and irreparably injure the

Plaintiffs’ and their members’ interests, and those injuries will continue unless the

Court grants the relief Plaintiffs seek.

      141.   Plaintiffs’ injuries would be redressed by the relief sought here.

      142.   Plaintiffs have no adequate remedy at law.

                            FIRST CLAIM FOR RELIEF
                                  Antiquities Act,
                              54 U.S.C. § 320301 et seq.
                                (Defendant Trump)

      143.   Plaintiffs re-allege and incorporate by reference all the allegations set

forth in this Complaint.

      144.   Judicial review is available to ensure that presidential actions are

consistent with constitutional principles and that the President has not exceeded

his statutory authority.

      145.   The President has the authority to regulate federal public lands only to

the limited extent that Congress has delegated that authority to the President.

      146.   In issuing his December 4, 2017 Proclamation, President Trump

exceeded his authority under the Antiquities Act, 54 U.S.C. § 320301 et seq. Under

the Act, Congress authorized the President to designate federal public lands as

national monuments, but not to abolish them either in whole or in part.


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      147.   As a result, the Trump Proclamation revoking monument status from

nearly half of the Grand Staircase-Escalante National Monument exceeds the scope

of the President’s authority, is ultra vires and unlawful. Even if President Trump’s

action were, as he termed it, a “modif[ication]” of the Grand Staircase-Escalante

National Monument and not an abolition, the result would be the same: nearly

900,000 previously protected acres of land have now been stripped of monument

status. The President has no authority to modify a monument in this way.

                        SECOND CLAIM FOR RELIEF
         U.S. Constitution, art. II, and separation-of-powers doctrine
                              (Defendant Trump)

      148.   Plaintiffs re-allege and incorporate by reference all the allegations set

forth in this Complaint.

      149.   Judicial review is available to ensure that presidential actions are

consistent with constitutional principles and that the President has not unlawfully

intruded on Congress’s exclusive power over federal public lands under the Property

Clause of the U.S. Constitution. U.S. Const. art. IV, § 3, cl. 2.

      150.   The Property Clause provides that “Congress shall have power to

dispose of and make all needful Rules and Regulations respecting the Territory or

other Property belonging to the United States . . . .” U.S. Const. art. IV, § 3, cl. 2.

The President has the authority to regulate such property only to the limited extent

that Congress has delegated that authority to the President.

      151.   Congress has not delegated the President the authority to rescind or

amend the monument designations of his predecessors or Congress pursuant to the

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Antiquities Act. To the contrary, Congress has affirmed its sole jurisdiction to

regulate the Monument through a series of legislative acts, including the Federal

Land Policy and Management Act of 1976, the Omnibus Public Land Management

Act of 2009, the Utah Schools and Lands Exchange Act, Pub. L. No. 105-335, § 3,

112 Stat. 3139, 3141 (1998); the Automobile National Heritage Area Act, Pub. L.

No. 105-355, § 110, 112 Stat. at 3247, 3252-53.

      152.     The President lacks the authority to reverse protections Congress

has enacted with respect to the Monument.

      153.   In issuing his December 4, 2017 Proclamation, President Trump

exceeded his authority under Article II of the U.S. Constitution and intruded on

Congress’s exclusion power to regulate federal property under the Property Clause,

in violation of the doctrine of separation of powers.

                         THIRD CLAIM FOR RELIEF
                    Take Care Clause, U.S. Const. art. II, § 3
                             (Defendant Trump)

      154.   Plaintiffs re-allege and incorporate by reference all the allegations set

forth in this Complaint.

      155.   The U.S. Constitution requires the President to “take Care that the

Laws be faithfully executed.” U.S. Const. art II, § 3.

      156.   President Trump must “take Care” to faithfully execute the Antiquities

Act, including its narrow delegation of authority to Presidents to declare (but not to

abolish) national monuments.



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      157.   The 1996 Proclamation, as a lawful exercise of congressional authority

delegated to President Clinton under the Antiquities Act, is a “law” within the

meaning of the “take Care” clause. Accordingly, the U.S. Constitution requires

President Trump to faithfully execute that law.

      158.   The Omnibus Public Land Management Act of 2009 and the Utah

Schools and Lands Exchange Act, Pub. L. No. 105-335, § 3, 112 Stat. 3139, 3141

(1998), as lawful exercises of congressional authority, are “laws” within the

meaning of the “take Care” clause. Accordingly, the U.S. Constitution requires

President Trump to faithfully execute that law.

      159.   President Trump has violated the “take Care” clause of the U.S.

Constitution by attempting to repeal and replace the 1996 Proclamation and remove

national monument status and protection from nearly 900,000 acres of the

Monument, including 80,000 acres of land that Congress later added to the

Monument. The lands that the Trump Proclamation purports to remove from the

Monument contain objects and resources that the 1996 Proclamation identified as

eligible and worthy of protection under the Antiquities Act.

                           FOURTH CLAIM FOR RELIEF
                                 Antiquities Act,
                             54 U.S.C. § 320301 et seq.
                               (Defendant Trump)

      160.   Plaintiffs re-allege and incorporate by reference all the allegations set

forth in this Complaint.




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      161.     Even if President Trump had the authority to abolish, in whole or in

part, the Grand Staircase-Escalante National Monument—which he does not—he

could only do so in a manner consistent with the terms and the purposes of the

Antiquities Act.

      162.     When President Clinton designated the Grand Staircase-Escalante

National Monument, he described the objects of scientific and historic importance

that qualified for protection under the Antiquities Act. He also determined that,

based on the grand scale of the Monument’s geologic features—most notably the

“Grand Staircase” of geologic strata—and the dispersed location of the objects of

scientific and historic interest, the Monument’s boundaries were “the smallest area

compatible with the proper care and management of the objects to be protected.”

Those findings are grounded in fact, have survived a legal challenge, and are

confirmed by the twenty-one years of research conducted since the Monument’s

designation.

      163.     The Trump Proclamation eliminating national monument status and

protection from nearly 900,000 acres of the Monument excludes objects of scientific

and historic importance from the decades-long protection they enjoyed under the

Antiquities Act, leaving them vulnerable to the damage that the 1996 Proclamation

effectively barred.

      164.     The Trump Proclamation is based on considerations wholly outside the

Antiquities Act and lacks legal or factual justification.



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                       FIFTH CLAIM FOR RELIEF
             Administrative Procedure Act, 5 U.S.C. § 701 et seq.
                (Defendants Secretary of the Interior and
                             Director of BLM)

      165.   Plaintiffs re-allege and incorporate by reference all the allegations set

forth in this Complaint.

      166.   The Administrative Procedure Act (APA) confers a right of action on

any person adversely affected by a final agency action or a failure to act, and waives

the federal government’s sovereign immunity. 5 U.S.C. §§ 701-706.

      167.   Because President Trump had no lawful authority to abolish, in whole

or in part, the Monument, the Secretary of the Interior and his subordinate officers

remain subject to the 1996 Proclamation’s direction to undertake specific,

mandatory duties to protect the special values of the Grand Staircase-Escalante

National Monument.

      168.   President Trump’s purported revocation of national monument status

for nearly half of the Grand Staircase-Escalante National Monument conflicts with

the Omnibus Public Land Management Act of 2009, which “establishe[s] in the

Bureau of Land Management, the National Landscape Conservation System,” and

which—along with several previous actions by Congress—ratified national

monuments generally and the Grand Staircase-Escalante National Monument

specifically. 16 U.S.C. § 7202(a). Accordingly, the Trump Proclamation conflicts

with these statutes and, further, is an unconstitutional intrusion on Congress’s sole




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authority to regulate federal property in violation of the separation of powers

doctrine.

      169.   Any BLM action contrary to the 1996 Proclamation constitutes

arbitrary and capricious agency action not in accordance with the law.

      170.   As a result of the Trump Proclamation, Defendants Secretary of the

Interior and Director of the BLM will promptly violate the terms of the 1996

Proclamation by managing the public lands under the pre-1996, less protective

multiple use regime. Accordingly, there is a substantial risk that the BLM will no

longer protect the objects of historic and scientific interest identified in the 1996

Proclamation and will instead authorize oil and gas leasing and development, coal

leasing, and will discontinue efforts and resource allocations necessary to protect

the lands that lost protection from the harmful impacts of roads, off-road vehicles,

and other activities. All of these actions are inconsistent with the 1996

Proclamation and subsequent acts of Congress.

      171.   On information and belief, Defendants will not carry out their duties

under the 1996 Proclamation as long as the Trump Proclamation remains in place.

                               PRAYER FOR RELIEF

WHEREFORE Plaintiffs request that the Court:

      1.     Declare that President Trump’s December 4, 2017 Proclamation is

ultra vires and exceeds his authority under the Antiquities Act,




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      2.     Declare that President Trump’s December 4, 2017 Proclamation

exceeds the scope of his authority under Article II of the U.S. Constitution and

violates the separation of powers doctrine and the “take Care” clause;

      3.     Issue injunctive relief invalidating President Trump’s December 4,

2017 Proclamation and barring its implementation;

      4.     Issue injunctive relief against Defendants Secretary of the Interior and

Director of BLM, directing them to carry out their mandatory duties imposed in the

1996 Proclamation and enjoining them from implementing President Trump’s

unlawful order;

      5.     Award Plaintiff fees and costs pursuant to 28 U.S.C. § 2412; and

      6.     Grant such other relief as the Court deems just and proper.


Dated: December 4, 2017                Respectfully submitted,

                                       /s/ James Pew
                                       James Pew (D.C. Bar No. 448830)
                                       Earthjustice
                                       1625 Massachusetts Ave., NW, Ste. 702
                                       Washington, D.C. 20036
                                       Tel.: (202) 667-4500
                                       Fax: (202) 667-2356
                                       E-mail: jpew@earthjustice.org

                                       Heidi McIntosh (pro hac vice pending)
                                       Yuting Yvonne Chi (pro hac vice pending)
                                       Earthjustice
                                       633 17th Street, Suite 1600
                                       Denver, CO 80202
                                       Tel.: (303) 623-9466
                                       Fax: (303) 623-8083
                                       E-mail: hmcintosh@earthjustice.org
                                       E-mail: ychi@earthjustice.org
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                            Counsel for Plaintiffs The Wilderness Society,
                            Defenders of Wildlife, Grand Canyon Trust,
                            Great Old Broads for Wilderness, Western
                            Watersheds Project, WildEarth Guardians,
                            Sierra Club, and Center for Biological
                            Diversity

                            /s/ Sharon Buccino
                            Sharon Buccino (D.C. Bar No. 432073)
                            Jacqueline M. Iwata (D.C. Bar No. 1047984)
                            Natural Resources Defense Council
                            1152 15th Street NW, Suite 300
                            Washington, D.C. 20005
                            Tel.: (202) 289-6868
                            Fax: (415) 795-4799
                            E-mail: sbuccino@nrdc.org
                            E-mail: jiwata@nrdc.org

                            Michael E. Wall
                            Katherine Desormeau
                            Ian Fein
                            Natural Resources Defense Council
                            111 Sutter Street, 21st Floor
                            San Francisco, CA 94104
                            Tel.: (415) 875-6158
                            Fax: (415) 795-4799
                            E-mail: mwall@nrdc.org
                            E-mail: kdesormeau@nrdc.org
                            E-mail: ifein@nrdc.org
                            Counsel for Natural Resources Defense
                            Council

                            /s/ Stephen Bloch
                            Stephen H.M. Bloch (pro hac vice pending)
                            Landon C. Newell
                            Laura E. Peterson
                            Southern Utah Wilderness Alliance
                            425 East 100 South
                            Salt Lake City, UT 84111
                            Tel: (801) 486-3161
                            Fax: (801) 486-4233
                            E-mail: steve@suwa.org
                            E-mail: landon@suwa.org

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                            E-mail: laura@suwa.org
                            Counsel for Southern Utah Wilderness
                            Alliance




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                           CERTIFICATE OF SERVICE

      I hereby certify that on this 4th day of December 2017, I electronically filed

the foregoing COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

with the Clerk of the District Court using the CM/ECF system, which will send

notification of such filing to counsel of record in this proceeding.



                                         /s/James Pew
                                         James Pew (D.C. Bar No. 448830)
                                         Earthjustice
                                         1625 Massachusetts Ave., NW, Ste. 702
                                         Washington, D.C. 20036
                                         Tel.: (202) 667-4500
                                         Fax: (202) 667-2356
                                         E-mail: jpew@earthjustice.org




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